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6.2 Coniidg_tjality. Seller and the Members hereby covenant
and agree to keep all non-public information relating to the transactions contemplated
hereby or the Purchased Assets as the confidential and proprietary information of Buyer,
and will exercise reasonable and diligent eli`orts to safeguard it from disclosure to third

parties, and will not use such information for any purpose after the Closing without prior `\\/

written consent of Buyer except as necessary to provide services to Buyer.

6.3 Non~Com@tition and Non-S olicitgg'on.

(i) Seller and each Member hereby covenant and agree as follows:
For a period commencing with the Closing and ending three (3) years therea&er, neither
Seller nor a Mernber shall for any reason whatsoever, directly or mdirectly, for itsel_t`,
himselii'herself or on behalf of or 'm conjunction with any other Person (a) own, inancel
control or engage, as a shareholder, member, owner, partner, joint venturer or director
(meaning a member of the board of directors of a corporation as opposed to, for example,
an officer position as Mediwl Director) in any Compeling Business; provided, however,
that Seller and each Mernber may purchase or otherwise acquire up to (but not more than)
five percent (5%) of any class of the securities of any company listed on any national or
regional securities exchange; (b) solicit any employee or cordractor of .Buyer or Buyer
a:fiiiiates who performs works relating to the products and services that relate to the
Software to leave the employment or engagement of Buyer of its affiliates or engage
with respect to a Competing Business any person who was an employee or contractor of
Buyer or its affiliates within the twelve (12) months prior to the engagement or (c) solicit
any customer that is a party to one of the Assigned Contracts who has entered into a
Contract with Buyer or any of its affiliates aner Closing to terminate its relationship with
the Buyer or Buyer affiliates Nothing herein shall be_.construed to prohibit any Member
from becoming an employee, independent contractor, consultant or advisor for a
Cornpeti.ng Business except as otherwise prohibited by the Employment Agceernent
entered into by such Mernber as contemplated by this Agreement.

(ii) Because of the diti‘iculty of measuring economic losses to
Buyer as a result of a breach of the foregoing covenants by Seller or a Member and of the
immediate and irreparable damage that could be caused to Buyer for which it would have
no other adequate remedy, the parties agree that the covenants in this Section 6.3 may be
enforced by Buyer in the event of breach by injunctions and restraining orders and other
equitable remedies (in addition to, but not in lieu o£ any other available remedies).

(iii) In the event Seller or any Member breach any of the
covenants set forth in Section 6.3(i), Buyer shall be forever released and discharged for
its obligation to make any further payments pursuant to the Eamout.

(iv) 'I`he covenants in this Section 6.3 are severable and

separate, and the lmenforceability of any speciiic covenant shall not affect the provisions
of or any other covenant of this Agreernent.

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(v) 'Ihe parties hereby agree that all covenants contained in this
Section 6. 3 are fair, reasonable, valid and are necessary to protect the IP Rights and the
confidential information and trade secrets related to the Bus'mess and to protect such
rights for the benth of the Buyer and its successors.

6.4 Accounts Rcceivable. To the extent Seller or any Memher \

collects or receives any funds in full or partial payment of any Assigned Accounts
R.eceivable, Seller or such Member covenants and agrees to promptly remit to Buyer the
full amounts collected or received, without set-oi`fs, along with any communication or
invoice relating thereto. 'I`o the extent Buyer collects or receives any hinds in full or
partial payment of any Retained Accounts Receivable, Buyer covenants and agrees to
promptly remit to Seller the full amounts collected or received, without set-oti`s, along
with any communication or invoice relating thereto.

6. 5 Arnonnts Collected bv Seller. (i) As of the Closing, to the

extent Seller has collected money for services or goods that are to be performed or

- _ _ after the Clos'mg, Seller shall remit such amounts (including those set forth on

L - l to Buyer within two (2) business days of the Closing; and (ii) after the

Closmg, to the extent Seller collects money for services or goods that are to be performed

or prcvided, in whole or in part, after the Closmg, Seller shall promptly remit such
amounts to Buyer within two (2) bushress days of receipt

  

6.6 Services or Goods Provided bv 'I`hird Parties. To the extent
that third parties have provided services or goods to Seller or to customers or other third
parties on behalf of Seller (including coaches, developers, IT consultants, and the like)
prior to the Closing and Seller has not paid for such services or goods at or prior to the
Closmg, Seller shall, subject to the mutual agreementl of the parties, either (i) promptly
pay such third parties in full for such services or goods and provide to Buyer evidence
thereof or (ii) promptly pay Buyer an amount equal to such amount owed to the third
parties and Buyer shall have the obligation to pay such third parties to the extent of the
amounts provided by Seller and to provide to Seller evidence thereof; provided that any
such amounts shall be subject to the proration as set forth in Section 6.7 below.

6.7 Prorated Taxes; Other Ez_rpenses. At Closing, all personal
property taxes assessed against or prepaid with respect to the Pnrchased Assets shall be
pro-rated as of Closing, based upon the applicable tax rate of the period for which
assessed or prepaid, or, if the Closing shall occur before the tax rate is nxed, the
apportionment of such taxes shall be on the basis of taxes paid for the preceding year,
subject to adjustment when the rate is established Seller shall be responsible for that
portion of the pro-rated taxes accrued for the period ending as of the Closing and Buyer
shall be responsible for that portion of the pro-rated taxes attributable to the period
beginning after the Closing. In addition, any prepaid expenses or similar obligations that
have been prepaid by Seller and any payables due and owing to third parties shall be pro-
rated as of Closing. To the extent any such prepaid expenses or payables cannot be ‘
determined at Closing, the parties agree to reconcile all such pro rations due and owing
between the parties within 30 days of Closing.

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6.8 Accounts Receivable. AP£er the Closing, Seller. shall 'use
reasonable best eli`orts to assist Buyer in documenting and collecting the Assigned-
Accounts Receivable and Buyer shall use reasonable eH`orts to assist Seller in
documenting and collecting the accounts receivable retained by Seller..

6.9 Qovenant Not to Assert Rights. Seller and each Memher
hereby covenants to Buyer that it!he will not, directly or through others, assert against

Buyer, Buyer aiiliates, and their respective successors and assigus, customers and
licensees, any patent, trade secrets or copyright rights of Seller or the Member that exist
as of the date hereof (including rights to inventions conceived or first reduced to practice
as of the date hereot) which are necessary for Buyer to reduce to use, modify, make or
have made, import, export, distribute sell, offer for sale, market, distribute or create
derivative works of the Purchased Assets or for their customers and licensee to use such
Purchased Assets, as they may be moditied or enhanced hereinafter.

6.10 Name Ch@ge. `Within thirty (3 0) days of the Clos`mg,
Seller will cause its corporate name to change to a name that is not confusing similar to '
“Preferred Physicians Healthcare Al]iance, L.C.” and will provide written documentation
to Buyer of such change '

7- MCATION¢

7.1 Survival of Representations and Warrarrties. All
representations and warranties contained in this Agreement shall survive for a period of

two (2) years after the Closing unless waived in writing by the party for whose beneht
such representations and warranties have been given, except for those contained in
Sections 3.1.2, and 4.2, which shall survive for the applicable statute of limitations

7-2 _.In_demni-'E._M

7.2.1 Indemni_'iication by Seller and Members. Subject to
the limitations and exclusions set forth in Section 7.5 of this Agreement, each of Seller
and Members hereby agrees, jointly and severally, to indemnify and hold harmless Buyer
and Buyer afhliates and their respective employees, members, representatives agents,
directors, oiiicers or assigns, from and against any and all damage, loss, Liability,
obligations, dei:'rciency, claim, cost and expense ('rncluding reasonable attomeys’ fees)
resulting from:

(i) any and all obligations and liabilities of any
kind or nature, whether accrued, absolute, contingent or otherwise, in any way relating to
or arising out of (a) the conduct or operation of the.Business prior to the Closing, (b) the
development, ownership, licensing, distribution or use of any of the Purchased Assets
prior to the Closmg, or (c) the performance or failure to perform by Seller under the
terms of any of the Assigned Contracts prior to the Closing;

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(ii) any breach of any representation or warranty
of Seller or any Member contained in this Agreement or in any schedule, exhibit,
instrument or agreement delivered pursuant hereto or in connection with the transactions
contemplated hereby; '

(iii) any breach, omission, nonfrdti]lment or
misrepresentation of any covenant or agreement of Seller or any Member in this
Agree;ment or any schedule, exhibit, instrument or agreement delivered pursuant hereto
or in connection with the transactions contemplated hereby;

(iv) any brokerage or inder’s fees or
commissions or similar payments based upon any agreement or understanding made, or
alleged to have been made by any person or entity with Seller or any Membell in
connection with any transactions contemplated by this Agreement; or

(v) any and all obligations and liabilities arising
out of the litigation described in Schedule 3.1.7 or any claim by Fonemed that any
alleged existing contract with the Seller is binding upon or becomes the assumed liability
of the Buyer.

?.2.2 Indemniiication by Buyer. Buyer hereby agrees to
indemnify and hold harmless Seller and any employee, representative, agent, director,
officer or assignee of Seller, from and against any and all damage, loss, liability,
obligation, deticiency, claim, cost and expense (i:ncluding reasonable attorneys' fees)
resulting from:

(i) any breach of any representation or warranty
of Buyer contained in this Agreement or in any schedule, exl:ribit1 instrument or
agreement delivered pursuant hereto or in connection with the transactions contemplated
herehy; or

(ii) any breach, omission, noniiilflllrnent or
misrepresentation of any covenant or agreement of Buyer in this Agreement or any
schedule, exhibit, instrument or agreement delivered pursuant hereto or in connection
with the transactions contemplated hereby.

(iii] any and all obligations and liabilities of any
kind or nature, whether accrued, absolute, contingent or otherwise, in any way relating to
or arising out of (a) the conduct or operation of the Business subsequent to the Closmg,
(b) the development, ovmership, ]icensing, distribution or use of any of the Purchased
Assets subsequent 'to the Closing, or (c) the performance or failure to perform by Buyer
under the terms of any of the Assigned Contracts subsequent to the Closing;

(iv) any brokerage or ' tinder‘s fees or
commissions or similar payments based upon any agreeth or understanding made, or

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alleged to have been made, by any person or entity with Seller or any Member in
connection with any transactions contemplated by this Agreement.

- 7.3 Right of Set-Ofl`. Subject to the limitations (and exclusions
from the limitations) set forth in Section 7.5 of this Agreemcnt, Pcst Closing Payments

described in Section 2.1(ii), the Eamout, the Annual Eamout Payments payable to Seller \

(or its designee) or to any Member or the Member's sponses, heits, assigns cr legal
representatives pursuant to Section 2.1(iv) and (v) shall be available to Buyer or its
successors and assigns to satisiy any obligations of Seller or Member under Section 6.5,
Section 6.6 or Section 7.2.1 or a claim against another Member for violation of a
representation, warranty or covenant of such Member. 'I'he rights of Buyer and its
successors under this Section 7.3 shall be in addich to and not in limitation of any other
rights and remedies to which Buyer or its successors are or may be entitled to under this
Agreement or at law or in equity, including injunctive relief

7.4 Knowledge of Buyer. "l'he right to indemnification1
reimbursement or other remedy by Buyer, its a:Efiliates, and their respective employees,
members, representatives, agents, directors, officers or assigns, based upon the
representations warranties, covenants and obligations contained herein shall not be
affected by any investigation conducted with respect to, or any knowledge acquired (cr
capable of being acquired) by Buyer, its affiliates and their respective employees
members, representative, agents, directors, otiicers or assigns at any time, whether before
or after the execution and delivery of this Agreement or the Closing, with respect to the
Pui‘ehased A`ssets or the accuracy or inaccuracy of or Seller’s or a Member’s compliance
with any such representation, warranty, covenant or obligation.

7.5 limitations on lnch'§_cation. (a) Any claim made by the
Buyer against Seller or any of the Membcrs with respect to any breach of a
representation, warranty and!or a claim for indemnification may only be made after the
aggregate of all losses, liabilities, costs, or damages expenses, re-assessments and/or
indemnity claims is equal to or greater than Twenty-Five 'I'housand ($25,000) Dollars
(the ‘ asket Amount”) after which the Buyer may claim the full amount of all such
losses, liabilities, costs, damages, expenses, or re-assessments andfor indemnity claims,
but only for such amounts in excess of the Baslcet Amount. Additionally, the liability of
Seller and the Members to Buyer with respect to any and all breaches of representations
warranties and/or claims for indemnjiication shall not, in the aggregate (except for claims
for which fraud by the Seller or a Member has been proven), exceed the Purchase Price.
Notwithstanding the above, the Basket Amount and the cap above shall not apply to
claims for indemnification resulting from a breach of the representations and warranties
in Section 3.1.2 and the actions or costs required to cure such breach

(b) Any claim made by the Seller or a Member against Buyer or its
successors or af|iliates with respect to any breach of a representation, warranty and!or a
claim for indemnification may only be made after the aggregate of all losses, liabilities,
costs, or damages, expenses, re-assessments andfor indemnity claims is equal to or
greater than the Basket Amount alter which the Seller or the Meml)er may claim the full

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amount of all such losses, liabilities, costs, damages, expenses, or re-assessments andfor
indemnity claims, but not only for such amounts in excess of the Basket Amount.
Finally, the liability of Buyer to Seller and the Mernbers with respect to any and all
breaches of representations, warranties and!or claims for indemnification shall not, in the
aggregate (except for claims for which h'aud by Buyer has been proven), exceed the
Purchase Price. Notwithstanding the above, the Baslcet Amount and the cap above shall \\
not apply to claims for indemnification resulting from a breach of the representations and
warranties in Section 4.2 and the actions or costs required to cure such breach.

8. MSCELLANEOUS.
8.1 Entire Amment: Amendment; §Yaiver. This A'.grcement

and the documents referred to or delivered pursuant to this Agreement, constitute the
entire agreement between the parties pertaining to the subject matter hereot`, and
supersede any and all prior and contemporaneous agreements, understandings,
negotiations and discussions of the parties, whether oral or_writtem No amendment,
supplement modiiication, waiver or termination of this Agreement shall be binding
unless executed in writing by all parties hereto, or intbe case cfa waiver, by the party for
whom such benefit was intended. No waiver of any of the provisions of this Agreement
shall be deemed or shall constitute a waiver of any provision of this Agreernent, whether
or not similar, nor shall such waiver constitute a continuing waiver unless otherwise
expressly provided in writing. 'I`he parties acknowledge and agree that facsimiles or
photocopies of the executed original of this Agreement shall be deemed to have the same
force and effect a's an executed original for all purposes.

8.2 Expenscs. Each party shall pay the fees of its own legal
counseL accountants and other advisers incurred in connection with the negotiation and
preparation of this Agreement, and the consummation of the transactions contemplated
by this Agreclent.

8.3 Successors and Assig§. 'I`his Agreement shall be binding
upon and inure to the benth of the parties hereto and their respective heirs, legal
representatives, successors and assigns

8. 4 Publici_ty. Seller and Buyer will agree to the cement of,
and upon such agreement may each issue, a reasonable press release announcing the
consummation of the transactions contemplated herein. Each party may refer third parties
to the press release and quote from the press release in connection with weJ'."e:r:encing the
transactions contemplated hereby. Otherwise, without the prior written consent of Buyer,
Seller or the Members will not make, and will direct its representatives not to make,
directly or indirectly, any written public statement or communication with respect to the
transactions contemplated by this Agreement, except as required bylaw or regulation or
judicial mandate.

8.5 Severabi]il;y. lt any provision or clause'of this Agreenrent
is determined by a court of competent jurisdiction to be invalid or unenforceable, the

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validity of the rest of the Agreement shall not be aii`ected and the rights and obligations
of the parties shall be construed and enforced as if this Agrcement did not contain the
particular part held to be invalid or unenforceable

ss Appl'icable Law. nas Agreement sham be governed in an

respects, including as to validity, interpretation and eii`ect, by the internal laws of theState \

of Florida, without giving eH`ect to the conflicts of law rules thereof. Each party hereto
irrevocably agrees that any action or proceeding with respect to this Agreement or for
recognition and enforcement of any judgment in respect hereof brought by another party
hereto or its successors or assigns shall be brought and determined solely by either a state
court or federal court in the State of Florida and each partyr hereto hereby irrevocably
submits with regard to any such action or proceeding for itself and in respect to its
property to the exclusive jurisdiction of the aforesaid courts.

8.7 Notice. Any notice or communication given or required
pursuant to this Agreement by any party to the other party shall be deemed properly
given if delivered persona]ly, sent by delivery service which provides evidence of
delivery, or in writing and mailed by registered or certified mail, postage prepaid, return
receipt requested to the following:

Ifto Seller to:

Preferred Physicians I-Iealthcare Allianee, L.C.
245 0 Maitland Center, Suite 203
Maitland., FL 32751

With a copy to:

Gary M. Berkson, Esqui.re

Moran Kidd Lyons Johnson & Berkson, P.A.
P.O. Box 472

111 N. Orange Avenue, Suite 1200

Orland, FL 32801

lf to Buyer to:
KePro Acquisitions, Inc.
777 East Park Drive

l-Iarrisburg, PA 1?111
Attention: Joseph A. Dougher

With a copy to:

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J ames A. Ulsh, Esquire
Mette, Evans & Woodside
3401 North Front Sireet
P.O. Box 5950

Hmisburg, PA 17110 \

lt`to Cabrera:

Edward Cabrera, M.D.
6365 Co]lins Avenue #2503
Miarni Beach, FL 33141

lf to Noecker;

Dianna Noeclcer, R_N.
1261 Arlington Place -
W'mter Park, FL 32789

or to such other address as shall hereinafter be harnished in writing by any party hereto to
the other party hereto. `

8-8 Countemarts. 'I`his Agreement may be executed in one or
more counterparts, each of which shall be deemed an priginal, and all of which together
shall constitute one agreement

8.9 Broker’s Fees. Buyer and Seller each represents to the
other that it has not used any broker, Ender, or other agent in connection with this
transaction Buyer and Seller each agree to indemnify the other for any claims brought
by any broker, iinder, or other agent claiming to have acted on its behalf in connection
with this transaction

8.10 Recitals; I-leadings. T.he Recitals appearing at me
beginning of this Agreernent are hereby incorporated in this Agreement. The headings
contained in this Agreement are for purposes of convenience only and shall not aii`ect the
meaning _or interpretation of this Agreement.

B.ll Morneys‘ Fees. ln any action or proceeding between the
parties regarding this Agreement or its enforcement the prevailing party in such action or
proceeding is entitled to collect and recover from the non»prevailing party all costs of
such action or proceeding incurred by such prevailing party, including, but not limited to,
reasonable attorney fees and costs through all levels ofproceedings, including appeals.

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WHEREUF, the_ parties hereto hlw. caused this
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IN WI‘I‘NESS WHEREOF, the parties hereto have caused this
- A_greemeot to be executed by their duly authorized officers of the day and year fu'st
'_abqve written

` I{EPRO A.CQUISITIONS, l'NC.

 

 

' PBEFERRED PHYS`ICIANS HEALTHCARE
~ _ ALLIANCE, L.c.

-' B§/:
_ ` Nan:\_c:
- _ Title:

 

 

 

MEMBE_RS;

 

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APPENDIX ONE

DEFMUONS

As used in this Agreement, capitalized terms not otherwise denned shall have the \

respective meanings ascribed to them below:
- “Code” means the lnternal Revenue Code of 1986, as amended.

“Corn etin Business” means any business that engages, in whole or in part, in thc
Utilization Management, Case Management, Disease Management, Health Screening,
Health Risk Appraisal, Selt` Health Management Tools and other Wellness Programs to
Health Care Plans, 'I`hird Party Admini strators, Employers and TPAS, payors, brokers and
other entities, for their use or for further use by individuals.

“Consent” means any consent, approval, authorization waiver, permit, concession,
agreement, registration, or certificate of, or tiling with or report or notice to, any person
or entity, including but not limited to any governmental authority.

“GAAP” means United States generally accepted accounting principles as in effect from
time to time

“Govemment @tity” means any federal, state or local or foreign government or any
court, adn'_oinistrat:'nres arbitrative or regulatory agency or commission or other
governmental authority or agency, domestic or foreign

“including” means including without limitation

“lntellectuai lanpr Rigl_its” means all rights and entitlements recognized, vested,
granted, available, or existing anywhere in the world, whether through formal registration
or application, by statute or otherwise, to inventions (whether patentable or not),
methods, discoveries, improvements, know-how, technologies, works of authorship,
mask worlcs, information and designs, including without limitation, patents, eopyrights,
trade secret rights, trademark rights, database rights, industrial property rights, moral
rights, registered design rights, utility models and utility model rights, invention
disclosures, and all pending applications for and registrations of any of the foregoing

“L_a_\_v_v_s_" means all applicable federal, state, local or foreign laws (including common law),
codes, statutes, ordinances, orders, judgments, arbitration awards, decrees, administrative
or judicial promulgations, injunctions, detenninations, approvals, rules, regulations,
permits, certifieates, licenses and authorizations of, and agreements with, all
Governrnental Entities.

“Liabilit_;}g” or “Liabi]ities” means all indebtedness, obligations, duty to perform,
commitments and other liabilities of a person or entity, whether absolute, accrued,

 

 

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contingent (or based upon any contingency), known or nnknown, fixed or otherwise, or
whether due or to become due.

“Lien” means any mortgage, charge, restriction, pledge, floating charge, hypothecation,
right of others, claim, security interest, imposition, encumbrance, easement covenant

encroachment, bnrden, title defect, lien or right of first reidsal. \

“Eerson” means an individual, a partnersbip, a corporation., a limited liability company,
an association, a joint stock company, a trust, a joint venture, an unincorporated
organization, or a Governmental Entity.

“Procee ding” means any action, order, clajm, suit, proceeding, litigation, investigation
inquiry, review, civil investigative demand1 or notice of the foregoing

“Taxes” means all taxes, assessments, charges, duties, fees, levies or other governmental
charges (including interest, penalties or additions associated therewith), including
income, hanchise, capital stock, real property, personal property, tangible, withholding
employment payroll, social security, unemployment compensation, disability, transfer,
sales, use, excise, gross receipts, value-added and all other taxes of any kind imposed by
any Government Entity, whether disputed or not, and any charges, interest or penalties
imposed or that may be imposed thereon by any Government Entity.

“Tax Return” means any return, declaration., report, claim for refund, or information

return or statement relating to Taxes, including any schedule or attachment thereto, and
including any amendment thereof

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APPENDIX TWO

EMPLOYMENT CON'I`RAC'I`S

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Execution Copy

EMPLOYMENT AGREEMENT

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THlS EMF'LOYMENT AGREEMENT (“Agreement") made as of the day
of Julyl 2010 between KePRO ACQU|SIT|ONS, |NC.l a Pennsy|vania business
corporation ("Employer"), and DIANNA NOECKER. R.N., (“Emp|oyee"}.

W|TN ESSETH:
WHEREAS, the Emp|oyer is acquiring substantially all of the assets of Preferred

Physicians Hea|thoare A||iance L.C. (l:’Pt~i»*li)l a limited liability companyl organized and
existing under the laws of the State of F|orida on or about the date of this Agreement
and intends to continue a substantial part of the business of PPHA ("PPH.A Business"),

either as a division of the Emp|oyer or as a subsidiary of the Employer; and,
WHEREAS, the Employee has been employed by PPHA for a period of time; and

WHEREAS, the Emp|oyer believes that the services of the Employee would be
of value to the Employer in connection with the continuation of the Emp|oyer of the

PPHA Business; and

WHEREAS, the Em ployee and the Ernployer are willing to enter into this

Agreement upon the terms and conditions herein set forth.

|N CONS|DERAT|ON of the promises and mutual covenants herein contained,

_the parties agree as follows:

 

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1. Emp|oyment. Emp|oyer hereby employs the Emp|oyee as Vlce-
F’resident, Commercial Operations and the Emp|oyee hereby accepts such employment
based on the terms and conditions of this Agreement.

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2. Temi. Emp|oyee's term of employment begins wiih the execution
of this Agreement and shall continue for a term of two (2) years unless terminated by
the Emp|oyer as provided in paragraph 6 of this Ag reement.

3. Compen sation. For all services to be rendered by the Emp|oyee,

. and as consideration for the other obligations of the Emp|oyee as set forth in this
inigreementl the Emp|oyer will pay to the Emp|oyee a salary of $170,000 per year from
the commencement of the term cf this Agreement until the completion ofthe term of this
Agreement. This amount shall be paid to the Emp|oyee in approximater equal
installments during each year on the customary payroll dates cf the Emp|oyer and shall
be subject to all applicable income tax withholdingl deductions as required by Iaw, and
other deductions authorized by the Emp|oyee. Emp|oyee may also be entitled to
receive an annual bonus equivalent to 100% of employee's annual salary of $170,000,
provided the Emp|oyee is employed by Emp|oyer on the last day of its tiscal yearl in
such amcunt, if any, as may be determined by Emp|oyer's Board of Directcrs. in its sole
'discreticn, in accordance with the terms of such Bon us prcgrams, if any, as may be in

effect from time to time.

4. QM. The Emp|oyee shall perform the duties outlined in Exhibit
"A" to this Agreement. The Employee shall report tc the Chief Executive Ofticer of the
Emp|oyer and to its Board of DIrectcrs. The Emp|oyee will devote her full-time and
attention to and will use her best efforts and abilities in the performance of her duties
and responsibilities as described in Exhibit "A" and this Agreement and will notl without
the prior written consent of Emp|oyer, engage in any trade or business for her own
account or on behalf of any other person, iirm or corporation which competes, ccnflicts.
'or interferes with the performance cf her duties under this Agreement in any way.

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Nothing in this paragraph shall be construed as preventing Emp|oyee from investing her

assets in such former manner as will not require the performance of services by

Emp|oyee in the operation of the affairs of the enterprises or companies irl which the

lnvestments are made. ' \\J

5. Benefrts. Emp|oyee shall be entitled to receive and participate in
such qualified retirement programs, non-cash employee benefits and fringe benefits as
may, from time to time, be made available by Emp|oyer to its employees on the same
terms and conditions as other employees of Emp|oyer

B. Tennination.

 

(a) This Agreement may be terminated by the Emp|oyer because of the
inability of the Emp|oyee to perform all or a substantial portion of her duties under this
Agreement by reason of illnessl physical, mental or emotional disability or other lack of
capacity, which inability shall continue for more than six (6) successive months. ln such
event, Emp|oyer shall pay to Emp|oyee her salary at the then current rate for a period of
six (6) months following termination of employment less any sums recovered by
Emp|oyee for enduring this 6-month period, from any Emp|oyer-provided disability or
other similar Emp|oyer-provided insurance coverage orr-plan.

(b) in additionl nothing contained in this Agreement shall be construed
to prevent the Emp|oyer from terminating the employment of the Emp|oyee at any time
for cause. As used in this l¢ligreementl termination for cause shall mean:

(i) any materially unprofessionall dishonest. or fraudulent
conduct or conduct which is detrimental to the reputation, character, or
standing of the Emp|oyer;

(ii) the negligence, incompetence, or moral turpitude of the
Emp|oyee;

(iii) any failure by the Emp|oyee to adequately perform her
duties under this Agreement or otherwise comply with and observe the
covenants and agreements made by her in this Agreement

 

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(iii) Emp|oyee's plea of guilty or no contest to, or conviction of a
felony or any professional censured;

(iv) embezzlement or diversion of any of the Emp|oyer’s funds.

7. Non-Com@tition. Emp|oyee recognizes that presently Employer's
business is national in scope and the parties to this Agreement understand and agree
that it is the intention of both to maintain the Emp|oyer's business activities, operationsl
markets and marketing activities as weil as those of corporations and entities controlled
by or related to or affiliated with Emp|oyer throughout the United States. Emp|oyee
recognizes that Empioyer's business will continue to be national in scope in the future.
Thereforel the parties expressly agree that during the term of this i¢iigreementl and, in
addition, for a two (2) year period following the termination ifthis Agreement, regardless
of the reason for the tenninr=itionl Emp|oyee will notl throughout the United States,

(a) solicitor attempt to solicit customers of Emp|oyer or other
persons or entities with whom or through whom Emp|oyer has done business, for the

purpose of engaging in the Business; or

(b) interfere with or detract fron': the PPHA Business, including
by way of example and without limiting the generality of the foregoing, by inducing an
Emp|oyee to leave Emp|oyer’s empioy, or by inducing a consultant or other independent
contractor to sever that person's relationship with Emp|oyer.

(c) "Competing Business" means any business that engages, in
_whoie or in part, in the Utiiization Management, Case iiiianagementl Disease
iiiianagement:l 24-Hour Nurse Hot Linel Heaith Screieningl Heaith Risir Appraisai, Seif
Heaith Management Toois and other Weiiness Frograms to Heaith Care i='iansl Third
Party Administi'ators, Empioyers and TPAsl payors, brokers and other entities, for their
use or for further use by individ uais.

 

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Emp|oyee acknowledges that the restrictions contained in this section are
reasonable and necessary in view of the nature of Emp|oyer’s business, in order to
protect the legitimate interest of Emp|oyer. and that any violation thereof would result in

irreparable injury to Emp|oyer. Thereforel Emp|oyee agrees thatl in the event of a \\J

breach or threatened breach by Emp|oyee by the provisions of the foregoing
subparagraphsl Emp|oyee shall be entitled to obtain from any court of competent
jurisdictionl preliminary and permanent injunctive relief restraining Emp|oyee from

violating the foregoing.

Nothing contained in this Agreement shall be construed as prohibiting
Emp|oyer from pursuing any other remedies available to Emp|oyer for such breach or
threatened breach, including recovery of damages frorn Emp|oyeel and an equitable
accounting of all earnings, profits and other benefits arising from such violation.

Emp|oyer and Emp|oyee acknowledge their intention that Emp|oyer shall
have the broadest possible protection ofthe value to Emp|oyer’s business and in the
trade area set forth above consistent with public policyl and it will not violate the intent
of the parties if any Court should determine that, consistent with establish precedent of
the forum statel the public policy of such state requires `the more limited restriction and

geographical area or duration of Emp|oyee's covenant not to competel contained in an

appropriate Decree.

8. Confidentiaii§Lof lnfonnation. Emp|oyee recognizes and
acknowledges that that Emp|oyee may have access to confidential information and!or
'trade secrets related to Emp|oyer’s business. The contidential information and!or trade

secrets include but are not limited to (i) ali plansl systems, methods, designs,
procedures, books and records including client lists and pricing information known to
Emp|oyee relating to the operationsl personnel and practices of Emp|oyer and of any
subsidiary or affiliate of Emp|oyer; Ui) ali other records, documents and information
.conceming Emp|oyer’s or such subsidiary's or aftiliate's business activities, practices

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and procedures, and any name or ster under which Emp|oyer or any such subsidiary or
aitiliate shall be operated during the terrn hereof, or shall have been operated prior
heretol and (iii) any logo or other descriptive or illustrated forrn thereof, utilized by
Emp|oyer or such subsidiary or aftiliate, as they may exist from time to tirne, constitute \J
and will constitute valuable, special and unique assets of Emp|oyer’s and any such
subsidiary's or afiiliate's business. Except as required in the course of employment
under this Agreement, Empioyee covenants and agrees that he will not, at any time,
without Emp|oyer’s prior consent, directly or indirect|y, disclose to any third party or use
for her own beneiit, any part of such confidential infonnattonl to the extent such
information has remained confidential to that time (except for unauthorized disclosures
by Empioyee) and except as otherwise ordered by a court of competentjurisdiction.

9. Assignment. The obligations and duties of the Emp|oyee shall be
personal and not assignable or delegable by her in any manner whatsoever. This
Agreement shall be binding upon and inure to the benefit of the Emp|oyer and it shall be
assignable by the Emp|oyer to a corporation which may acquire its business, all or
substantially all of the business assets of the Emp|oyer or with or into which Emp|oyer

may be merged or consolidated.

10. Entire Agreement. This Agreement is intended by the parties to,
and doesl constitute the entire agreement of the parties with respect to the employment
of an Emp|oyee by the Emp|oyer. This Agreement supersedes any and ali prior
understandingsl written or oral, between the parties with respect to the employmenth
the Emp|oyee by the Emp|oyer, and this Agreement may be amendedl modified,
waived, discharged or terminated only by an instn.iment in writing signed by the
Emp|oyer or an authorized executive officer of the Emp|oyerl as the case may be.

11. A[bitraiion. Any controversy or claim arising out of or relating to
this .*`llgreementl or the breach thereofl shall be settled by arbitration in accordance with
the then applicable rules of the American Arbitration iiitssociationl which arbitration shall

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